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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                  AMARILLO DIVISION


PRESIDENT DONALD J. TRUMP,
an individual,

                        Plaintiff,                            Case No.: 2:24-CV-00236-Z

        v.

CBS BROADCASTING INC., a
New York corporation and CBS                                  JURY TRIAL DEMANDED
INTERACTIVE INC., a Delaware Corporation


                        Defendants.


   THIRD CONSENT MOTION FOR AN EXTENSION OF TIME TO RESPOND TO
        DEFENDANTS’ MOTION TO DISMISS FOR LACK OF PERSONAL
      JURISDICTION AND IMPROPER VENUE OR, IN THE ALTERNATIVE,
           TO TRANSFER AND DEFENDANTS’ MOTION TO DISMISS
    THE COMPLAINT FOR LACK OF SUBJECT MATTER JURISDICTION AND
                     FAILURE TO STATE A CLAIM

        Defendants CBS Broadcasting Inc. and CBS Interactive Inc. have filed (1) a “Motion to

Dismiss for Lack of Personal Jurisdiction and Improper Venue or, In the Alternative, to

Transfer,” and (2) a “Motion to Dismiss the Complaint for Lack of Subject Matter, Jurisdiction

and Failure to State a Claim” (the “Motions”).

        Plaintiff respectfully requests, per agreement of the Parties, that the Court extend until

January 31, 2025 Plaintiff’s deadline to file an Amended Complaint in response to the Motions,

or, in the alternative, to file oppositions to the Motions.

        The Parties have further agreed that, if the extension is granted, Defendants will have

until February 28, 2025 to file any responsive pleadings or renewed motions, or if Plaintiff files

oppositions to the Motions, to file any reply papers.



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        The Parties have also jointly respectfully request that the deadline for the parties to meet

and confer pursuant to Federal Rule of Civil Procedure 26(f) be extended by a corresponding one

week, to February 4, 2025, and that the deadline for the parties to file a joint proposed scheduling

order be extended to February 11, 2025.

        Plaintiff’s counsel has conferred with counsel for Defendants, and all parties have

consented to this motion in writing.

                                              Respectfully submitted,

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                                                 /s/ Edward Andrew Paltzik
                                              Edward Andrew Paltzik

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                                                 /s/ Daniel Z. Epstein
                                              Daniel Z. Epstein
                                              (applying for admission pro hac vice)




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                                               /s/ Chris D. Parker
                                            Chris D. Parker




                            CERTIFICATE OF CONFERENCE

      I certify that on the 23rd day of January, 2025 I conferred with attorney Elizabeth
McNamera, counsel for Defendants. Ms. McNamara stated that she is in agreement with this
Motion.


                                                  /s/ Edward Paltzik
                                            Edward Paltzik



                               CERTIFICATE OF SERVICE

        I certify that a copy of the foregoing document was served pursuant to the Federal Rules
of Civil Procedure on the 23rd day of January, 2025, via the Northern District of Texas’s
electronic filing notification system.



                                               /s/ Chris D. Parker
                                            Chris D. Parker




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